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                                                  January 24, 2023

VIA ECF
The Honorable John G. Koeltl
United States District Judge
500 Pearl Street
United States Courthouse, Courtroom 14A
New York, New York 10007

Re:    Grant, et. al. v. Trump, No. 20-cv-7103 (S.D.N.Y.)

Dear Judge Koeltl:

       This firm, together with Stanley Woodward of Brand Woodward Law, represent non-party
Daniel J. Scavino, Jr., whom this Court has ordered to appear for a deposition in the above-
captioned action. (Order (Dec. 21, 2022).) Mr. Scavino’s deposition is currently scheduled for
Wednesday, January 25, 2023. Mr. Woodward, who will be defending Mr. Scavino’s deposition,
and whose motion to appear pro hac vice will be forthcoming shortly, recently suffered a loss in
the family and needs to be in New Jersey for funeral services tomorrow. Therefore, with the
consent of the Parties, we have agreed to reschedule Mr. Scavino’s deposition for Friday, February
3, 2023.

       We thank the Court for its attention to this matter.

                                                                 Respectfully,

                                                                 /s/ Jeffrey S. Gavenman
                                                                 Jeffrey S. Gavenman



Cc:    Counsel of Record




                                                                                              SchulmanBH.com
